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 TRUSTEE’S NOTICE OF INTENT TO PROCEED WITH 341 MEETING
   OF CREDITORS BY VIDEO CONFERENCE AND PROCEDURES
                    REGARDING SAME

      PLEASE TAKE NOTICE that the Meeting of Creditors provided for under
11 U.S.C. § 341 will not take place in person. Instead, the Meeting of Creditors will
be held virtually by video or telephone conference, using Zoom.

      PLEASE TAKE FURTHER NOTICE that to attend the virtual 341 Meeting
of Creditors, follow the instructions below for logging in to a Zoom Meeting:

             There are 3 Methods to Join the Zoom Meeting
                    1-If you have the internet, use this link from a computer, smartphone or
             tablet with video and audio capability:
                    Join Zoom Meeting
      https://us02web.zoom.us/j/84672755858?pwd=SlZIQ3N2aVAxSWFlN3dBcTZRZG5nUT09

                    2- From ANY telephone, dial ANY of these numbers:
                              +1 929 205 6099 US (New York)
                              +1 312 626 6799 US (Chicago)

             You will be prompted to enter:
             Meeting ID: 846 7275 5858
             Passcode: 458916

             If you are calling from outside the United States, find your local number:
             https://zoom.us/u/adaryMPKcw


      PLEASE TAKE FURTHER NOTICE that the virtual 341 Meeting of
Creditors will be electronically recorded. To ensure the quality of the record, please
be sure to limit any background noise. Participants must be able to hear all parties
for the entirety of the virtual 341 Meeting of Creditors.

   PLEASE TAKE FURTHER NOTICE that verification of the Debtor(s)’ photo
identification and evidence of the Debtor(s)’ social security number must be
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provided to the trustee according to my office procedures. Please contact my office
if you have any questions.

   PLEASE TAKE FURTHER NOTICE that all required documents must be
submitted to the trustee through my document management system, Axos Document
Delivery Portal, according to my normal office procedures.

   PEASE TAKE FURTHER NOTICE that failure to comply with the above
procedures shall be deemed a failure to appear at the 341 Meeting of Creditors.



                                             /s/ Lynn E. Feldman
                                            Lynn E. Feldman
                                            Chapter 7 Trustee
                                            221 N. Cedar Crest Boulevard
                                            Allentown, PA 18104
                                            Telephone: (610) 530-9285
                                            Email: trustee.feldman@rcn.com
